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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                        :       CHAPTER 7
                                              :
AMERICAN UNDERWRITING                         :       CASE NO. 18-58406-SMS
SERVICES, LLC,                                :
                                              :
          Debtor.                             :

                       APPLICATION BY TRUSTEE FOR COMPENSATION

TO:      THE HONORABLE SAGE M. SIGLER
         UNITED STATES BANKRUPTCY JUDGE

         This Application of S. Gregory Hays, brought pursuant to Section 330 of the United States

Bankruptcy Code, respectfully shows that he is the duly-appointed and qualified Trustee in

Bankruptcy of the above-captioned Estate, that the assets of said Debtor have been liquidated, and

that there came into the hands of the undersigned Trustee for disbursement the total sum of

$883,240.25 of which $46,369.90 was received in error and returned to the payee and the Trustee

anticipates an additional $0.00 will be distributed to the Debtor.

         In the administration of said Estate, your Applicant has performed those services required

by a Trustee. This Application is for services rendered from July 27 2018 through

August 13, 2021. The statutory allowance is the sum of $42,206.43, and Applicant has heretofore

received on his account compensation as Trustee in the sum of $0.00. Attached as Exhibit “A” is

a calculation of the Trustee commission, which factors in the trustee commission earned during

the Chapter 11 case.

         Your Applicant has not in any form or guise agreed to share the compensation for such

services with any person not contributing thereto, or to share in the compensation of any person
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rendering services in this proceeding to which services Applicant has not contributed. Your

Applicant has not entered into any agreement, written or oral, express or implied, with any other

party in interest or any attorney of any other party in interest in this proceeding for the purpose of

fixing the amount of the fees or other compensation to be paid to any party in interest, or any

attorney of any party in interest herein for services rendered in connection therewith.

       On May 18, 2018 (the “Petition Date”), American Underwriting Services, LLC

(“Debtor”) filed a voluntary petition for relief under Chapter 11 of Title 11 of the United States

Code, 11 U.S.C. §§ 101 et seq. (as amended, modified, or supplemented, the “Bankruptcy Code”)

in the United States Bankruptcy Court for the Northern District of Georgia, Atlanta Division,

initiating Chapter 11 Case No. 18-58406-sms (the “Case”). Shortly thereafter, Trustee was

appointed, and he remains, the duly acting Chapter 7 trustee in this Case.

       Prior to the Petition Date and during the Chapter 11 Case, the Debtor provided liability

insurance products—as a program underwriter based in Atlanta, Georgia—for the trucking and

transportation industry, including with regard to commercial auto liability, motor truck cargo, auto

physical damage, property, and general liability products. The operations of the Debtor included

at one time trucking specialists in 48 states.

       On June 27, 2018, the United States Trustee filed a Notice of Appointment of Chapter 11

Trustee and Setting of Bond [Doc. No. 70] pursuant to which S. Gregory Hays was appointed as

the Chapter 11 Trustee for the bankruptcy estate of the Debtor. After the United States Trustee

filed an Application for Approval of Selection of Appointment of Chapter 11 Trustee [Doc. No.

73] on June 28, 2018, the Court entered an Order Approving Appointment of Chapter 11 Trustee

[Doc. No. 77] on June 29, 2018, confirming the appointment of S. Gregory Hays as the Chapter
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11 trustee in the Case.

       On August 1, 2018, the Court converted the Case to a proceeding under Chapter 7 effective

July 27, 2019 [Doc. No. 106] and directed the United States Trustee to appoint a trustee in the

Chapter 7 Case. Shortly thereafter, Trustee was appointed, and he remains, the duly acting Chapter

7 trustee in this Bankruptcy Case.

       At the commencement of the Bankruptcy Case, a bankruptcy estate was created pursuant

to 11 U.S.C. § 541(a) (the “Bankruptcy Estate”), and that Bankruptcy Estate includes all Debtor’s

legal or equitable interests in property as of the commencement of the Bankruptcy Case and any

interest in property that the estate acquires after commencement of the Bankruptcy Case. 11

U.S.C. § 541(a)(1) and (7) (2015). Trustee is the sole representative of the Bankruptcy Estate. 11

U.S.C. § 323(a) (2015).

       This Application seeks payment of the Chapter 7 Trustee commission and reimbursement

of expenses as Chapter 7 Trustee. In summary the Trustee performed or supervised activities

involving the following:

       Since the appointment of the Chapter 11 Trustee, the Chapter 11 Trustee conducted an

investigation of the business affairs of the Debtor to determine whether a reorganization was

possible or feasible. Based on that investigation, the Trustee determined that, among other

potential problems, the operations of the Debtor were not generating a profit, continue to suffer

losses, and were insufficient to pay ongoing Chapter 11 administrative expenses, including

attorney’s fees and U.S. Trustee fees. Furthermore, the Trustee was not aware of any potential

party willing to finance the operations of the Debtor pending a sale of the assets of the Debtor or

through confirmation of any plan of reorganization nor were there any ready, willing or able buyers
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prepared to purchase the Debtor’s business as a going concern. In the business judgment of the

Trustee, the ongoing losses of the Debtor and inability of the Debtor to obtain adequate financing

for the operations of the Debtor made reorganization highly unlikely, if not impossible and the

Chapter 11 trustee file a motion to convert the case. On August 1, 2018, the Court converted the

Case to a proceeding under Chapter 7 effective July 27, 2019.

       During the Chapter 7 period, the Trustee finalized the closing of the Debtor’s office, wound

down operations, completed the final payroll, terminated benefit plans, preserved the Debtor’s

electronic data and completed the reconciliation of all Chapter 11 insurance policy payments and

credits. In addition, the Trustee assisted the various carriers with the transmission to other

managed general agents.

       After extensive reconciliation, the Trustee filed his Motion for Authority to Pay Insurance

Premiums and to Return Funds Erroneously Paid to the Trustee [Doc. No. 154] and turned over

nearly $500,000 to various carriers for premiums collected post petition after retaining

approximately $32,000 in commissions.

       The Trustee filed adversary # 18-05106 against Prosight Specialty Management Company

and New York Marine and General Insurance Company relating to seven pre-petition

garnishments actions. Following good faith and arms-length negotiations, the Trustee and Prosight

where by the Trustee recovered $225,507.99 for the Bankruptcy Estate. In addition, the Trustee

resolved a transfer to Gillen, Withers & Lake, LLC for $10,000.

       The Chapter 7 Trustee is currently holding $355,490.16 in the bankruptcy estate’s bank

account.   In his final report, the Trustee is proposing paying Chapter 7 and Chapter 11

administrative claims in full. In addition, the Trustee is proposing paying two priority tax claims
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in full and a small distribution to general unsecured claims. This is the best result possible

considering the financial condition of the Debtor at the time of the Chapter 11 Trustee’s

appointment.

       All appropriated claim objections have been filed and or resolved and all necessary tax

return and matters have been resolved.

       As said Trustee, your Applicant has or will pay in the final administration of the case out

of his own funds expenses totaling $1,114.56, none of which have been repaid and for which he

prays for reimbursement. Attached hereto marked as Exhibit “B” and incorporated herein by

reference is an itemization of Trustee’s expenses.

       WHEREFORE, S. Gregory Hays prays for such allowance for his services herein in the

amount of $42,206.43 plus reimbursement of expenses in the amount of $1,114.56 and as the Court

finds reasonable and just.

       Respectfully submitted this 16th day of August, 2021.

                                                        /s
                                                     S. Gregory Hays
Hays Financial Consulting, LLC                       Chapter 7 Trustee
2964 Peachtree Rd, N.W, Ste 555
Atlanta, Georgia 30305
404) 926-0060
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                            Exhibit A
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                        Trustee's Compensation

Computation of Compensation

     Chatper 11 Trustee Disbursements (6/27/18 - 7/26/18)             $    42,741.69
     Chapter 7 Disbursements July 27, 2018 through Current            $   527,179.42
     Trustee's Proposed Final Disbursements                           $   356,060.83
     Less: Funds paid to Debtor in Error & Returned to Payee          $   (46,369.90)
Total disbursements to other than the debtor are:                     $   879,612.04


    Pursuant to 11 U.S.C. 326, compensation is computed as follows:
         25% of First $5,000                                          $     1,250.00
         10% of Next $45,000                                          $     4,500.00
         5% of Next $950,000                                          $    41,480.60
         3% of Balance                                                $          -
                                                                      $    47,230.60

Maximum Allowable Trustee Compensation                                $    47,230.60

Less: Commission Requested for Chapter 11 Period                      $     5,024.17

Amount Requested this Application                                     $    42,206.43
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                             Exhibit B
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                           Hays Financial Consulting, LLC
                                        2964 Peachtree Road
                                              Suite 555
                                       Atlanta, GA 30305-2153



American Underwriting Services, LLC
Case # 18-58406-SMS



                               For the Period from     7/27/2018 to 8/16/2021
August 16, 2021


                                                                                   Amount

 7/27/2018   Mileage expense round trip to court and then AUS offices.               41.58
  1/4/2019   2019 Bond fee                                                           17.10
  1/9/2020   2020 Bond fee                                                          125.64
 1/12/2021   2021 Bond fee                                                          144.06
 8/13/2021   Case Closing Expenses:                                                 786.18
             Copies NFR - 415 notices @ 9 pages @ $0.15 per copy - $560.25
             Postage NFR - 415 notices @ $0.51 per notice - $211.65
             Postage distribution checks - 28 checks @ $0.51 per check - $14.28
               Total costs                                                        $1,114.56
